      Case: 4:16-cv-00071-GHD-JMV Doc #: 76 Filed: 02/23/18 1 of 4 PageID #: 1718




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI

RANDY L. ADAMS, et al.,                             )
                                                    )
               Plaintiffs,                          )
                                                    )   Civil Action No. 4:16-cv-071-GHD-JMV
vs.                                                 )
                                                    )
JOHN M. O’QUINN & ASSOCIATES, PLLC                  )
D/B/A THE O’QUINN LAW FIRM, et al.,                 )
                                                    )
               Defendants.                          )

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        COME NOW all Plaintiffs named herein, and Defendant, Danziger & De Llano, LLP,

and jointly move this Court for the entry of an order dismissing with prejudice any and all of the

Plaintiffs’ claims against Defendant, Danziger & De Llano, LLP, in the above captioned lawsuit,

with each party to bear its own costs.

                                             Respectfully submitted,

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                                         ATTORNEYS FOR DEFENDANT
                                         DANZIGER & DE LLANO, LLP



                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been
forwarded to all counsel of record via electronic mail on the 23rd day of February, 2018.

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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI


RANDY L. ADAMS, et al.,                              )
                                                     )
               Plaintiffs,                           )
                                                     )   Civil Action No. 4:16-cv-071-GHD-JMV
vs.                                                  )
                                                     )
JOHN M. O’QUINN & ASSOCIATES, PLLC                   )
D/B/A THE O’QUINN LAW FIRM, et al.,                  )
                                                     )
               Defendants.                           )

                         ORDER GRANTING JOINT STIPULATION
                           OF DISMISSAL WITH PREJUDICE

        The Court considered the Joint Stipulation of Dismissal with Prejudice filed by Plaintiffs

and Defendant Danziger & De Llano, LLP. After reviewing the stipulation, this Court believes

the Joint Stipulation of Dismissal with Prejudice should be granted.

        IT IS THEREFORE ORDERED that the Joint Stipulation of Dismissal with Prejudice is

hereby GRANTED.

        IT IS FURTHER ORDERED that all of Plaintiffs’ claims against Defendants Danziger &

De Llano, LLP, Deceased are hereby DISMISSED WITH PREJUDICE.



        SIGNED this __ day of ___________________, 2018.




                                      _________________________________________
                                      UNITED STATES DISTRICT JUDGE




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